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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 10-60194-CR-COHN/SELTZER

  UNITED STATES OF AMERICA,

  v.

  ROBERT DEPRIEST,

             Defendant.
  ____________________________/

       ORDER DENYING DEPRIEST’S MOTION TO DISMISS INDICTMENT, DENYING
       REQUEST FOR DISCLOSURE OF EXCERPTS OF GRAND JURY TRANSCRIPTS
         AND EXHIBITS, AND GRANTING REQUEST FOR LEAVE TO SUPPLEMENT

          THIS CAUSE is before the Court on Defendant Robert DePriest’s Motion to

  Dismiss Indictment Based Upon Prejudicial Irregularities in Grand Jury Proceedings;

  Request for Disclosure of Pertinent Excerpts of Grand Jury Transcripts and Exhibits;

  and Request for Leave to Supplement [DE 937]. The Court has considered the motion,

  DePriest’s First Supplement to the motion [DE 950], the Government’s Response [DE

  968], and is otherwise advised in the premises.

          DePriest argues that the Government presented the grand jury with insufficient

  evidence to indict him and that certain “irregularities” took place at the grand jury

  proceeding, thereby reducing the grand jury’s role to an unconstitutional “rubber stamp.”

  DE 937 at 2-10. Accordingly, DePriest requests that the Court dismiss the indictment.

          Dismissing an indictment is an “extreme sanction which should be infrequently

  utilized.” United States v. Pabian, 704 F.2d 1533, 1536 (11th Cir. 1983). “The grand

  jury’s sources of information are widely drawn, and the validity of an indictment is not

  affected by the character of the evidence considered.” United States v. Calandra, 414

  U.S. 338, 344-45 (1974). “Thus, an indictment valid on its face is not subject to
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  challenge on the ground that the grand jury acted on the basis of inadequate or

  incompetent evidence.” Id. at 345. DePriest has presented no evidence indicating that

  the grand jury’s ability to exercise independent judgment was compromised. The fact

  that some evidence was presented in summary fashion by the case agent does not

  invalidate the indictment. Accordingly, the Court will deny DePriest’s request to dismiss

  the indictment.

        DePriest also requests disclosure of certain grand jury transcripts and exhibits

  that relate to DePriest or his subject investment property and personal residence.

  Under Federal Rule of Criminal Procedure 6:

        The court may authorize disclosure—at a time, in a manner, and subject to
        any other conditions that it directs—of a grand-jury matter: . . . at the request
        of a defendant who shows that a ground may exist to dismiss the indictment
        because of a matter that occurred before the grand jury.

  Fed. R. Crim. P. 6(e)(3)(E)(ii).1 Defendants must show a “particularized need” for such

  disclosure. Douglas Oil v. Petrol Stops, 441 U.S. 211, 222 (1979); see also United

  States v. Aisenberg, 358 F.3d 1327, 1348-49 (11th Cir. 2004). DePriest has not made

  such a showing here. He has not described any grand jury difficulties particular to this

  case that merit disclosure, nor has he indicated the specific relevancy of any transcripts


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            DePriest’s Motion states:

        Federal Rules of Criminal Procedure 6(e)(3)(C)(ii) provides that “[d]isclosure
        otherwise prohibited by this rule of matters occurring before the grand jury
        may also be made … when permitted by a court at the request of the
        defendant, upon a showing that grounds may exist for a motion to
        dismiss the indictment because of matters occurring before the grand
        jury” (emphasis added).

  DE 937 at 21. However, there is no such rule currently in force. Rather, the applicable
  Rule of Criminal Procedure is Rule 6(e)(3)(E)(ii).

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  or exhibits to his particularized need for the materials. Therefore, the Court will deny

  DePriest’s request for disclosure of grand jury transcripts and exhibits.

         Finally, DePriest requests leave to supplement his initial motion “as additional

  factual and legal support becomes available.” DE 937 at 24. The Court has considered

  DePriest’s First Supplement in issuing the instant Order. To that extent, the Court

  grants the request for leave to supplement.

         Accordingly, it is hereby

         ORDERED AND ADJUDGED that Defendant Robert DePriest’s Motion to

  Dismiss Indictment Based Upon Prejudicial Irregularities in Grand Jury Proceedings;

  Request for Disclosure of Pertinent Excerpts of Grand Jury Transcripts and Exhibits;

  and Request for Leave to Supplement [DE 937] is GRANTED in part and DENIED in

  part as follows:

         1.     The Motion to Dismiss Indictment is DENIED;

         2.     The Request for Disclosure of Pertinent Excerpts of Grant Jury

                Transcripts and Exhibits is DENIED;

         3.     The Request for Leave to Supplement is GRANTED.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, on this 25th day of March, 2011.




  Copies provided to:
  Counsel of record via CM/ECF




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